            Case 2:10-cr-00047-MJP           Document 85      Filed 07/14/10      Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                        Plaintiff,   )   Case No. CR10-47 MJP
                                                       )
10          v.                                         )   DETENTION ORDER
                                                       )
11 SARAH TUCKER,                                       )
                                                       )
12                                    Defendant.       )

13 Offense charged:

14       Bank Fraud,
         Aggravated Identity Theft, and
15       Possession of Stolen Mail.

16 Date of Detention Hearing: July 14, 2010.

17       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which the defendant can meet will reasonably

20 assure the appearance of the defendant as required and the safety of any other person and the

21 community.

22           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23       Defendant was released on bond on March 2, 2010. On June 7, 2010 defendant was



     DETENTION ORDER - 1
               Case 2:10-cr-00047-MJP        Document 85        Filed 07/14/10      Page 2 of 2




 1 arrested for violating conditions of the bond. Defendant admitted the next day she had

 2 committed the violations by using drugs and alcohol. The Court released defendant onto GPS

 3 monitoring and home confinement. In July, defendant was again arrested for violating a

 4 condition of her bond. On July 14, 2010, defendant admitted she used a controlled substance in

 5 violation of her conditions of release.

 6       It is therefore ORDERED:

 7       (1)        Defendant shall be detained pending trial and committed to the custody of the

 8 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9 from persons awaiting or serving sentences, or being held in custody pending appeal;

10       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

11 counsel;

12       (3)        On order of a court of the United States or on request of an attorney for the

13 Government, the person in charge of the correctional facility in which Defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16       (4)        The clerk shall direct copies of this order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

18 Officer.

19       DATED this 14th day of July, 2010.

20

21                                                         A
                                                           BRIAN A. TSUCHIDA
22                                                         United States Magistrate Judge

23



     DETENTION ORDER - 2
